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         Exhibit 2
                                                                Case 1:23-cv-03722-PAE Document 25-2 Filed 12/19/23 Page 2 of 2




Re: Pickups in MES

     REDACTED                                                                                                                                                                                                                     6                ➔
     Tu• 2/U./2022 12,22 PM
     To: Cla, le. Ryan P
     Cc Aubuchon, Stephen W: Louia. Jon M

     I respect your direction and the team and I will follow the directions given as instructed however I would like to voice the way the team and my self feel about t he situation. You are asking us to record in a inaccurately way the number o f
     defects. using the zone box (that is for a drawing reference) will be asking us to falsify the proper documentation with regards to the amount of defects being found on the plane. This make us and put us in a very uncomfortable situation
     where we have to question our integrity and our ability to follow directions.

     I find it unethical and in violation of FAA regulations along with the proper regulations in place by Spirit Aerosystems of properly documenting the amount of defects being found.

     We will follow the d irection given to us but we are not comfortable ,'llith it.



     from: Clark, Ryan P <ryan.p.clark@splritaero.com>
     Sent: Tuesday, February 22. 2022 10:34 AM
     To: REDACTED



     Cc: Aubuchon, Stephen W <stephen.w.aubuchon@sptritaero.com>; Louia, Jon M <Jon.m.foula@spirltaero.,om>
     Subj ect: Pickups in MES

     Team,
     Per Steve Aubuchon when writing your pickup after your FOD walks it needs to be documented as 1 item 1 defect for each section that you walk. Put the number of tape t hat was laid in the box that says zone, which is located on the far right
     side of pickup page.

     Thank you.

     Ryan Clark
     EOLJSIP fil l
     Spirit Ae10Systems Inc
     316-925-0337
